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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT
__________________________________________
PATRICIA KANE MAGUIRE,                     )
                                           )
                  Plaintiff,               )
                                           )
v.                                         ) Civil Action No.
                                           )
AMERIPRISE FINANCIAL SERVS., LLC;          )
AMPF HOLDING, LLC; ANTHONY JOSEPH          )
SALERNO; and JAMES J. FLAHERTY, JR.,       ) JANUARY 24, 2022
                  Defendants               )

                     DEFENDANTS’ NOTICE OF REMOVAL

To the Judges of the United States District Court for the District of Connecticut:

       Defendants Ameriprise Financial Services, LLC (“AFS”); AMPF Holding, LLC

(“AMPF Holding”); and Anthony Joseph Salerno (collectively the “Ameriprise

Defendants”)—joined by Defendant James J. Flaherty, Jr.—by and through their

undersigned counsel and pursuant to 28 U.S.C. §§ 1331 and 1441, et seq., hereby remove

this action from the Connecticut Superior Court, Judicial District of Stamford, to the

United States District Court for the District of Connecticut. In support thereof, the

Defendants state as follows:

       1.     The Plaintiff served an action against the Ameriprise Defendants and the

co-defendant James J. Flaherty Jr. Specifically, a marshal allegedly (i) left the service

documents as to Salerno and Flaherty at their respective purported usual place of abode

on January 3 and 4, 2022, respectively; (ii) served AFS via its claimed agent for service

on January 6, 2022; and (iii) served AMPF via the Secretary of State, on January 6, 2022.

This action is entitled Patricia Kane Maguire v. Ameriprise Financial Services, LLC, et

al., with the docket number FBT-CV22-6054931, a return date of January 25, 2022, and
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made returnable to the Connecticut Superior Court, Judicial District of Stamford. A copy

of the Summons and Complaint is attached hereto as Exhibit A.

       2.      In the Complaint, Plaintiff asserts (i) a claim of Connecticut statutory theft

against the Ameriprise Defendants and (ii) claims of conspiracy to commit statutory theft;

aiding and abetting statutory theft; forgery; conspiracy to commit forgery; aiding and

abetting forgery; fraud; violations of the Racketeer Influenced and Corrupt Organizations

Act (RICO), 18 U.S.C. § 1961, et seq.; and violations of the Connecticut Unfair Trade

Practices Act (CUTPA), Conn. Gen. Stat. § 42-110a, et seq., against all defendants.

       3.      All of the claims in Plaintiff’s Complaint arise out of the same general

nexus of alleged facts. In brief, Plaintiff is one of the two living children of Agnes

Patricia Kane (the “Decedent”) who passed away on January 22, 2019. Plaintiff alleges

that under a 2016 will, the Decedent left her estate to her two children in equal shares

(and named them joint executors). Plaintiff claims that her sister (“Bernadette”)

convinced Decedent to use Bernadette’s own investment adviser (Salerno) as an

investment adviser as well. Plaintiff further asserts that Salerno then worked with a

friend, Flaherty, and that Decedent then—allegedly due to undue influence or coercion

from Bernadette, Salerno, and/or Flaherty—executed a new will in 2017 that left her

entire estate to Bernadette and named Bernadette sole executor. Plaintiff also seemingly

claims that this 2017 will was falsified, at least in part. The Complaint alleges that several

of Decedent’s investment accounts—which had supposedly named both sisters as equal

beneficiaries—were transferred to Ameriprise, naming Bernadette as the sole beneficiary

and/or that the beneficiary designation on another account was changed from both sisters

to Bernadette alone. Plaintiff asserts that this was a product of fraud and/or forgery.



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       4.      The Court has original jurisdiction over the RICO claim in the above-

captioned matter, pursuant to 28 U.S.C. § 1331, in that it is a “civil action[] arising under

the . . . laws . . . of the United States.” The Court also has supplemental jurisdiction over

all of the Complaint’s other counts, pursuant to 28 U.S.C. § 1367, as they all involve the

same alleged facts, parties, and issues—namely, the purportedly wrongful change in

investment account and probate beneficiary, as briefly summarized above—such that

they form part of the same case or controversy. Therefore, this action may be removed to

the United States District Court for the District of Connecticut pursuant to 28 U.S.C. §§

1331 and 1441.

       5.      This Notice of Removal is filed within thirty (30) days of the Defendants

being notified of this lawsuit and the Defendants have complied with all requirements of

28 U.S.C. § 1446.

       6.      Pursuant to 28 U.S.C. § 1446(b)(2)(A), Flaherty—the only other

defendant named in the Complaint—consents to and joins in the removal sought by

Ameriprise Defendants herein. Attorney Michael T. Ryan, (ct05685), Ryan Ryan Deluca

LLP, has filed an appearance for Defendant Flaherty in the State Court. Undersigned

counsel informed Attorney Ryan of the Ameriprise Defendants intent to remove the case

and Attorney Ryan has informed undersigned counsel that his client consents and joins in

the removal of the case to District Court. However, in making this filing, neither the

Ameriprise Defendants nor Flaherty concede that they were properly served.

Additionally, they do not waive any potential defense(s) they may have in this matter.

       7.      Pursuant to 28 U.S.C. § 1446(d), the Ameriprise Defendants will promptly

serve a copy of this Notice of Removal on Plaintiff’s counsel and shall file a copy of this



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Notice of Removal with the Clerk of the Superior Court for the State of Connecticut in

the judicial district of Stamford.

        8.     Removal of this case is not precluded by the provisions of 28 U.S.C. §

1445.

        WHEREFORE, Defendants respectfully request that the above action be removed

from the Superior Court, Judicial District of Stamford, State of Connecticut, to this

Honorable Court.


                                        DEFENDANTS
                                        AMERIPRISE FINANCIAL
                                        SERVICES, LLC; AMPF HOLDING, LLC;
                                        AND ANTHONY SALERNO

                                     By:__/s/ John F. Conway__________
                                        John F. Conway (ct04763)
                                        James E. Ringold (ct29536)
                                        150 South Main Street
                                        Wallingford, CT 06492
                                        Tele.:         203-265-2035
                                         Fax:          203-269-3487
                                         E-Mail:       jconway@lflaw.com,
                                                       jringold@lflaw.com
                                         Attorneys for Defendants Salerno, AFS, and
                                        AMPF Holding

                                        DEFENDANT JAMES J. FLAHERTY, JR.

                                     By:__/s/ ct05685____________
                                        Michael T. Ryan (ct05685)
                                        Ryan Ryan Deluca LLP
                                        707 Summer Street
                                        Stamford, CT 06901
                                        Juris No. 052525
                                        Tele:         203-357-9200
                                        E-Mail:       MTRyan@Ryandelucalaw.com
                                        Attorney for Defendant James J. Flaherty, Jr.




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                            CERTIFICATE OF SERVICE

I certify that on January 24th, 2022 the foregoing was filed through the Electronic Case
Filing System of the United States District Court for the District of Connecticut and will
be served electronically by the court to the Registered Participants identified in the
Notice of Electronic filing. Parties may access this filing through the Court’s CM/ECF
System. A copy was also sent to the following counsel who have appeared for Plaintiff in
the state court action.

       Attorney Joseph M. Pastore III
       Attorney Leanne M. Shofi
       Attorney Paul Fenaroli
       Pastore LLC
       4 High Ridge Park, 3rd Floor
       Stamford, CT 06905
       VIA EMAIL: jpastore@pastore.net, lshofi@pastore.net, pfenaroli@pastore.net


       Attorney Michael T. Ryan
       Ryan Ryan Deluca LLP
       707 Summer Street
       Stamford, CT 06901
       VIA EMAIL: MTRyan@Ryandelucalaw.com




                                                    /s/ James E. Ringold
                                                    James E. Ringold




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